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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                  DETROIT OFFICE

JANET DEMKO,                                  )
                                              )
                       Plaintiff,             )        2:17-cv-13359-AC-APP
                                              )
       v.                                     )        Judge Cohn
                                              )        Magistrate Judge Patti
FINANCIAL ASSISTANCE,                         )
INCORPORATED,                                 )
                                              )
                       Defendant.             )

                   STIPULATION TO DISMISS WITHOUT PREJUDICE

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

               parties hereby stipulate and agree that the above-captioned action should be

               dismissed without prejudice.

       2.      The parties, by agreement, respectfully request that this case be dismissed without

               prejudice and without costs to any party.

Date: April 2, 2018

For Plaintiff, Janet Demko                        For Defendant, Financial Assistance, Inc.

 s/ David M. Marco                                 s/ Charity A. Olson
SMITHMARCO, P.C.                                  Brock & Scott, PLLC
55 W. Monroe Street, Suite 1200                   2723 S. State St., Ste. 150
Chicago, IL 60603                                 Ann Arbor, MI 48104
Telephone:    (312) 546-6539                      Telephone:     (734) 222-5179
Facsimile:    (888) 418-1277                      Facsimile:     (866) 941-8712
E-mail:       dmarco@smithmarco.com               E-mail:        Charity.Olson@brockandscott.com




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                                 DETROIT OFFICE

JANET DEMKO,                                  )
                                              )
                      Plaintiff,              )       2:17-cv-13359-AC-APP
                                              )
       v.                                     )       Judge Cohn
                                              )       Magistrate Judge Patti
FINANCIAL ASSISTANCE,                         )
INCORPORATED,                                 )
                                              )
                      Defendant.              )

                                   ORDER OF DISMISSAL

       At the request of the Parties, a stipulation having been duly filed, this matter is hereby

dismissed without prejudice and without costs to either party.



                                                      s/Avern Cohn
                                                      Hon. Avern Cohn
                                                      United States District Judge



                                                      Dated: April 2, 2018




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